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JOHN OSKER INGRUM              OXCOLLECTION
160 MOODY ROAD                 135 MAXESS ROAD
FOREST, MS 39074               MELVILLE, NY 11747



TYLVESTER GOSS               PATRICK MCALLISTER
DAVIS, GOSS, & WILLIAMS, PLLC303 HIGHLAND PARK COVE
1441 LAKEOVER ROAD           SUITE A
JACKSON, MS 39213            RIDGELAND, MS 39157


COLLECTION                     RMB, INC
700 LONGWATER DR               6215 KINGSTON PK STE A
NORWELL, MA 02061              KNOXVILLE, TN 37919



COMMTY BK MS                   S.E. LACKEY MEMORIAL
POB 59                         P.O. BOX 1100
FOREST, MS 39074               MAGEE, MS 39111



EASOM HARDWARE CO.             SMS
17544 HWY 21                   2101 N HILL ST
SEBASTOPOL, MS 39359           MERIDIAN, MS 39305



EXCELL BUILDING SUPPLY         SOCIAL SECURITY ADMIN
P.O. BOX 328                   155-10 JAMAICA AVE
WALNUT GROVE, MS 39189         JAMAICA, NY 11432



GILCO POUTRY EQUIPMENT         SOCIAL SECURITY ADMIN
18699 HWY 80                   C/O U.S. ATTORNEY
FOREST, MS 39074               188 EAST CAPITOL ST.
                               JACKSON, MS 39201


KING POULTRY                   THE DURHAM COMPANY
EQUIPMENT LLC                  813 34D ST. W
1306 HWY 35 NORTH              FOREST, MS 39074
CARTHAGE, MS 39051


NCO FIN/09
507 PRUDENTIAL RD
HORSHAM, PA 19044
